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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

SCOTWOOD INDUSTRIES, INC.

PLAINTIFF(S), CASE NO. 2:11-cv-02542-CM-KGG

REGISTRY NO.

 

VS.

MICHIGAN SALT PRODUCTS, LLC;
E.C.0O., S.P.R.L.; GHADAN COMPANY;
and AHMED LOTFY ZAKARYA COMPANY,

DEFENDANT(S).

MOTION TO DEPOSIT INVESTED FUNDS WITH THE COURT

Pursuant to Rule 67 of the Federal Rules of Civil Procedure, the _ Plaintiff

 

moves the Court for an order authorizing the deposit into the Registry of the court in the amount of
$ 400,000.00 which represents interpleader funds at issue in this proceeding.

 

The Clerk is hereby Ordered to deposit the funds in a money market account or other instrument,

 

due to

at the prevailing rate of interest at a federally approved financial institution. The initial investment is
subject to the collateral provisions of Treasury Circular 176.

The clerk shall deduct the administrative registry fee, set by the Director of the Administrative
Office of the U.S. Courts at ten percent of the interest earned or as indicated based on the amount and
time of deposit into the court, without further order of the court. Said fee is authorized by the Judicial

Conference of the United States.

Dated this_ 03 day of October , 2011

 

(Rev. 6/00)
